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U.S. District Court
District of Maryland (Greenbelt)
CRIMINAL DOCKET FOR CASE #: 8:04-cr-00235-RWT-9

Case title: USA v. Martin et al Date Filed: 05/05/2004
, Date Terminated: 01/05/2007

Assigned to: Judge Roger W Titus

Appeals court case numbers: '05-4312'
'USCA’, '07-4115' "USCA'

Defendant (9)
Lavon Dobie represented by Lavon Dobie
TERMINATED: 01/05/2007 38360-037
also known as U.S. Penitentiary - Hazelton
Becky Parker SFF-HAZ J2103L
TERMINATED: 01/05/2007 PO Box 3000
also known as Brucetown Mills, WV 26525
Theresa Waller ~ PROSE —
TERMINATED: 01/05/2007. |
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Mirriam Z Seddiq
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District of Marylan¢ @SMIARCF ETAOZASPKC Document 1517-1 Filed 05/25/12 Page 2 of 6 Page -,
, Orders (Johnston, Deborah) (Entered: 05/20/2010)

06/03/2010 1379 | NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Paulette
Martin, Luis Felipe Mangual, Learley Reed Goodwin, Larry Donnell Nunn, Jr, John
Albert Martin, Jr, Reece Coleman Whiting, Derrek Lewis Bynum, Ruby Bertine
Harden, Lavon Dobie, Lanora N. Ali, Pernell Robert Philpot, Eugene Benjamin Byrd,
Milburn Pollard Walker, Jr, George Linsey Harris, Larry Delano Lane, Claude Arnold,
Travel Alvin Riley, Craig Arnold Scott, William Edward Turner, Tony Solomon,
Milton Earl Boyd, Kimberly Lynette Rice, Richard Gunn, Edward Barber, Luis Felipe
Mangual, Sr, Claude Alexander Booker, Donnell Elvin Berry, Thomas Jonathan
Farmer, Gwendolyn Maria Levi, Donna Conzuella Johnson, Moises De Los Reyes
Uriarte Lorente held on 11\21\2006 Forfeiture hearing, before Judge Roger W. Titus.
Court Reporter/Transcriber Sharon O'Neill, Court Reporter, Telephone number 301-
344-3227. Total number of pages filed: 153. Transcript may be viewed at the court
public terminal or purchased through the Court Repofter/Transcriber before the
deadline for Release of Transcript Restriction. After that date it may be obtained from
the Court Reporter or through PACER. Redaction Request due 6/24/2010. Redacted
Transcript Deadline set for 7/6/2010. Release of Transcript Restriction set for 9/1/2010.
(smo, Court Reporter) (Entered: 06/03/2010)

10/25/2010 1405 | NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Paulette
Martin, Luis Felipe Mangual, Learley Reed Goodwin, Larry Donnell Nunn, Jr, John
Albert Martin, Jr, Reece Coleman Whiting, Derrek Lewis Bynum, Ruby Bertine
Harden, Lavon Dobie, Lanora N. Ali, Pernell Robert Philpot, Eugene Benjamin Byrd,
Milburn Pollard Walker, Jr, George Linsey Harris, Larry Delano Lane, Claude Amold,
Travel Alvin Riley, Craig Armold Scott, William Edward Turner, Tony Solomon,
Milton Earl Boyd, Kimberly Lynette Rice, Richard Gunn, Edward Barber, Luis Felipe
Mangual, Sr, Claude Alexander Booker, Donnell Elvin Berry, Thomas Jonathan
Farmer, Gwendolyn Maria Levi, Donna Conzuella Johnson, Moises De Los Reyes
Uriarte Lorente held on 12\6\2004, before Judge Roger W. Titus. Court
Reporter/Transcriber Sharon O'Neill, Court Reporter, Telephone number 301-344-
3227. Transcript may be viewed at the court public terminal or purchased through the
Court Reporter/Transcriber before the deadline for Release of Transcript Restriction.
‘After that date it may be obtained from the Court Reporter or through PACER.
Redaction Request due 11/15/2010. Redacted Transcript Deadline set for 11/26/2010.
Release of Transcript Restriction set for 1/24/2011. (smo, Court Reporter) (Entered:
10/25/2010)

11/19/2010 1419 | Motion Hearing held on 11/19/2010 re 1367 Joint MOTION to Vacate Forfeiture Order
and for Return of Property filed by Paulette Martin and joined by Learley Reed
Goodwin, Derrek Lewis Bynum, Lavon Dobie and Lanora N. Ali - Argued -
"DENIED" for reasons stated on the record by Judge Roger W Titus. (Court Reporter:
Tracy Dunlap) (td, Deputy Clerk) (Entered: 11/19/2010)

12/10/2010 1430 | AMENDED JUDGMENT as to Lavon Dobie (9), Count(s) 1, 1s, 1ss, Isss, Issss, 69sss,
69ssss, 72sss, 72ssss, 76ssss, Dismissed; Count(s) lsssss, 146 Months Imprisonment, 5
Years Supervised Release with Conditions, $700.00 Special Assessment; Count(s)
34sssss, 47sssss, 5Osssss, 53sssss, 57sssss, 48 Months Imprisonment, 1 Year
Supervised Release with Conditions, $700.00 Special Assessment; Count(s) 6lsssss, 60
Months Imprisonment, 5 Years Supervised Realease with Conditions, $700.00 Special
Assessment. Signed by Judge Roger W Titus on 12/7/2010.(Received on 12/8/10) (ns,
Deputy Clerk) (Entered: 12/10/2010)

01/19/2011 1446 | MOTION to Withdraw As Counsel for the United States by USA as to Paulette Martin,
Luis Felipe Mangual, Learley Reed Goodwin, Larry Donnell Nunn, Jr, John Albert iy)

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Martin, Jr, Reece Coleman Whiting, Derrek Lewis Bynum, Ruby Bertine Harden,
Lavon Dobie, Lanora N. Ali, Pernell Robert Philpot, Eugene Benjamin Byrd, Milburn
Pollard Walker, Jr, George Linsey Harris, Larry Delano Lane, Claude Arnold, Travel
Alvin Riley, Craig Arnold Scott, William Edward Turner, Tony Solomon, Milton Earl
Boyd, Kimberly Lynette Rice, Richard Gunn, Edward Barber, Luis Felipe Mangual, Sr,
Claude Alexander Booker, Donnell Elvin Berry, Thomas Jonathan Farmer, Gwendolyn
Maria Levi, Donna Conzuella Johnson, Moises De Los Reyes Uriarte Lorente.
Responses due by 2/7/2011 (Greenberg, Bonnie) (Entered: 01/19/2011) ~

11/02/2011 1475 | JUDGMENT of USCA "AFFIRMING" in part and "V ACATING" in part. This case is
"REMANDED" to the USDC for further proceedings consistent with the court's
decision as to Paulette Martin, Learley Reed Goodwin, Reece Coleman Whiting,
Derrek Lewis Bynum, Lavon Dobie, Lanora N. Ali re 1065 Notice of Appeal - Final
Judgment, 1067 Notice of Appeal - Final Judgment, 1066 Notice of Appeal - Final
Judgment, 1063 Notice of Appeal - Final Judgment, 1072 Notice of Appeal - Final
Judgment, 1073 Notice of Appeal - Final Judgment, 1064 Notice of Appeal - Final
Judgment. This judgment shall take effect upon issuance of this court's mandate in
accordance with Fed. R. App. P. 41. (Attachments: # 1 Unpublished Opinion, # 2
Notice of Judgment)(kre, Deputy Clerk) (Entered: 1 1/02/2011)

11/02/2011 1476 | MOTION for Retroactive Application of Sentencing Guidelines to Crack Cocaine
Offense 18 USC 3582 by Lavon Dobie. (Attachments: # 1 Exhibit A, # 2 Exhibit B, #3
Cover Letter, # 4 Envelope addressed to Clerk, # 5 Envelope addressed to Judge Titus)
(kns, Deputy Clerk) (Entered: 11/08/2011)

11/28/2011 1478 | MANDATE of USCA takes effect today as to Paulette Martin, Learley Reed Goodwin,
Derrek Lewis Bynum, Lavon Dobie 1065 Notice of Appeal - Final Judgment, 1073
Notice of Appeal - Final Judgment, 1434 Notice of Appeal - Final Judgment, 1435
Notice of Appeal - Final Judgment, 1436 Notice of Appeal - Final Judgment (kre,
Deputy Clerk) (Entered: 11/28/2011)

03/14/2012 1495 | Marginal ORDER granting 1446 Motion to Withdraw as Counsel for the United States.
Signed by Judge Roger W Titus on 3/13/2012. (nss, Deputy Clerk) (Entered:
03/14/2012)

03/15/2012 1496 | MOTION to Appoint Counsel by Lavon Dobie. Responses due by 4/2/2012.
(Attachments: # 1 Envelope)(kns, Deputy Clerk) (Entered: 03/16/2012)

03/22/2012 1497 | ORDER granting 1496 Motion to Appoint Counsel; Mirriam Seddiq appointed as to
Lavon Dobie (9). Signed by Magistrate Judge William Connelly on 3/22/12. (nss,
Deputy Clerk) (Entered: 03/26/2012)

03/22/2012 Attorney update in case as to Lavon Dobie. Attorney Mirriam Z Seddiq for Lavon
Dobie added. (nss, Deputy Clerk) (Entered: 03/26/2012)

04/05/2012 1501 | CJA 20 as to Lavon Dobie: Appointment of Attorney Mirriam Z. Seddiq for Lavon
Dobie. Signed by the Clerk on 3/22/2012. (rss, Deputy Clerk) (Entered: 04/05/2012)

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And that, to me, is the most interesting part of all.

Posted in: Not Gulity No Way | 2 Comments

Innocence
Posted: March 27th, 2012 by Mirriam.

There are things of which I am certain — my love for my children, that summer follows spring and that I am a
criminal defense lawyer. All other things are up for grabs and open to discussion including whether winter, as I
have always known it, follows fall, my children’s love for me and whether I’m actually any good at this criminal
defense lawyer thing.

People call me up looking for a lawyer and I always wonder what they want. If they ask me if I’m any good what
do they think I will say? No? I am, in fact, quite terrible but you don’t need to know that. Doesn’t everyone say
they are good? Doesn’t everyone puff up their qualifications and say they know how to do things they don’t know
how to do just so they can get their foot in the door? Well, don’t they?

I don’t. But I probably should. In case I start to do that, read this piece and know things I don’t do as part of my full
time gig: Juvenile court. Apparently it’s an entire world unto itself. I get calls now and again for it and I admit
readily that it’s not my forte. I’m pretty sure I could handle it considering the rules of evidence are fairly lax, but if
you are looking for someone who knows the judge by name I’m not your girl.

Family law. I don’t understand it and I think the rules are pretty complex and it could totally fuck someone’s life
up. Imagine you are filing a divorce or custody agreement and you do it wrong and the people who hate each other
are still married?? That’s almost like going to prison for a lot of people. It scares me and I don’t even dabble in it.
If you need someone, I could probably get you someone.

Here’s one you probably wouldn’t guess — DUI. | think | could do it, seems similar to drug crimes and I think the
science behind it is fairly interesting. I always like cross-examining experts, especially doctors and medical
examiners so | think | would dig this too. But since I haven't had a lot of them I would be hesitant to say this is
something I do very very well. (although I will bet I could do it better than most. Wow, this post sounds sort of
braggy, doesn’t it?)

Here’s something else I don’t do: I don’t work harder for you if you are innocent.

This is a topic that’s gone round and round the internet and if I weren’t so fucking lazy I'd link to all of the posts
(remember those good old days when we used to do that, actually ‘talk’ to each other through our posts? Oh, le
sigh) but like I said, I’m lazy and don’t feel like going back and doing that. You can google it and find it yourself.
But it’s one that is a core concept in the criminal defense field — do we care if our clients did it or not.

I answer nay. In fact, a potential client called the other day and said he wanted to hire a lawyer who would defend
him because they believed he was innocent. The right answer would have been yeah, totally man. That’s me. I
think you didn’t do it. But, my stupid self wouldn’t allow me to say that so I told him if he wanted someone who
fought harder for innocent clients than for ones who admit guilt, that wasn’t me and he should find another lawyer.

He called me back the next day.

Truth. It does not matter to me if you did it. It does not matter to me if you did not. I can think about it at night

before I drift off to sleep, but 1 probably will not because thoughts will be taken up by how I can best craft a

defense for you in either case. My job, dear potential client, is not to seek justice. My job is to defend you. Let your
friends and family champion your righteousness and let me hire an investigator to find out if your ex-girlfriend’s
daughter is known to tell tall tales and maybe has a boyfriend who doesn’t know she is under the age of consent. (1)

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This same potential cheat and he aoa tenor hoy una ai fit af! SGhenaling peop Rieke Suilty. Ah! Can
you believe it? It came from a client who believed I should only defend those who deem themselves to be free of
sin, But, dear potential client, the government deems you the son of satan and well, your facts are only what the

jury decides they are. Your innocence means nothing if I can’t prove it. Your innocence means nothing if the jury is
convinced of your guilt.

Ergo, it doesn’t matter to me if you did it because there are people out there who believe you did. And it’s my job
to get you out of this jam with as few bruises and scrapes as possible.

Posted in: Not Gulity No Way | 6 Comments

Hello 2012. I’ve been waiting for you.

Posted: January 9th, 2012 by Mirriam.

It’s 9 days into the new year and I haven’t posted anything intriguing yet. Oh, come on, you all are used to waiting
and waiting and waiting for my next ever-inspired and inspiring post. Don’t lie. You say you’d like me to post
more but the excitement wanes when there is a post every day or two. This way I’ve got you wanting more. You
need it. You hunger for it.

And, the wait is over. Here it is.

Shall I make you promises, dear reader? Shall I tell you I will post several times a week or that I will regale you
with stories of trials and tribulations that take place in my little solo world? I cannot do that for certainly I shall fail.
I promised last year — three posts a week — and we can see from the numbers that I did a terrible job. I was lucky if
there were three posts a month. And, most of the time when I did write it was about how | couldn’t write. Tres
boring and lame, my loves. Who needs that? I know you certainly do not. And it’s not too much fun for me to write,
either.

The other day I talked to a colleague who wants to start blogging this year about sixth amendment issues. I asked
him ‘who is your audience’ because at this point we know who mine is. Yes, over there. I’m looking at you. He
said he wanted people to know about things like NDAA — take something that is fairly complex and make it
understandable. Excellent idea, said I. But will you just continue to preach to the choir? I will read about indefinite
detention for U.S. citizens on U.S. soil and shake my head and say ‘boo’ ‘hiss’ but will my neighbor? And, what
are you trying to do by repeating what's already been said by so many talking heads? What do we gain by
continuously telling others who know our truths what the truth is? So, here is a promise that I will keep. I will not
bore you by endless repetition of why I cannot write. I will do what I promised last year and that is to keep
repeating the mantra that there are very bad things happening in the world and we need to stop them. We must be
change agents. Yeah, that’s what I said. CHANGE. AGENTS. And, I’ve written post after post on how to do this.
We talk to our neighbors and to our families and our friends and to those who worship with us and those we see at
New Year’s Eve parties.

And we talk and talk and talk and we find ways to endear ourselves to those in positions to make these changes a
reality. Or, if we can’t do that, we become exceptionally annoying and people stop letting us out in public.

Example. I went to a New Year’s Eve party in New Jersey with some very dear friends of mine. The room was
filled with writers and people who seemed intellectual from what I could tell. They would have been intimidating S
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And the beat goes on

Posted: April 30th, 2012 by Mirriam.

If I had a dollar every time someone said to me “you must have some interesting stories” I’d have a whole lotta
dollars. Probably like 20. Or maybe even 30. Oddly enough, I never tell anyone any of my stories. They are too
personal and, for those of you criminal defense lawyers out there this comes as no surprise, they actually aren’t all
that interesting. Or, the parts I think are interesting are probably not interesting to regular people.

Case in point, right now I think it is interesting that the government locks up people with this thing called
‘mandatory detention’ — so see, if you have an aggravated felony the government can take you from the jail you are
serving your sentence in and when that sentence is up they can take you into immigration custody and then keep
you there until your case is over whether that be weeks or years. Lest all you right wingers out there (yeah, I’m
talking to you two) get your panties in a knot over “but those illegals are breaking the laws of our fine nation” you
should understand that a lot of the people who are mandatorily detained are legal permanent residents meaning they
have a green card. Meaning they did not break any laws other than the one they broke, were convicted of, and did
jail time for. So, now what we do it we take them away from their families for even longer than their sentence of
incarceration for their crime. We take them away from their jobs where they pay taxes and are productive members
of society. And we keep them in jail. Indefinitely. They have no right to bond since, see, it’s mandatory detention.

Did you steal a car and get two years suspended sentence? Oh well, you are mandatorily detained (if Immigration
and Customs Enforcement lodged a detainer against you and you never came out after your original arrest). See,
this to me is interesting. Is it to you?

I know what people think, my work is the stuff of TV dramas and an entire network on cable TV. Things like the
First 48 or to Catch a Predator are all based on these hideous people doing hideous things. But, in reality, the things
that are fascinating to most of us are the legal minutiae. What you would call ‘the technicalities’ because above all
else we lawyers are thinking things. We can take a thread and pull it until it either unravels or we’ ve made you
crazy enough with the pulling that won’t stop that you will throw your hands up in the air — not to waive them
around like you just don’t care — but to say enough enough enough. How many of you have tried talking to a lawyer
in a social setting? It seems to be going so well, until you say a word or a phrase and it isn’t exactly accurate. We
aren't inclined to just let it go and if we do you can trust that we are turning it over in our brains to figure out what
you really meant because surely you didn’t mean what you said.

I have found, in my old age, that my brain functions differently from most people’s. It seems it might even be a
form of autism. I can be wholly committed to a singular cause and concentrate on it until my brain bleeds. Or yours
does. I sometimes cannot see the forest for the trees, other times all I see are trees and call on the help of friends to
make out the outlines and boundaries of the forest. There are things to me that are fascinating about my job, but
they require statute numbers and guidelines sections and SCOTUS decisions. These are not the things lifetime
movies are made of. But they are the things that keep me intrigued from day to day.

I was asked the other day what it is that I loved about this job. Why I was better suited to this than to being a
prosecutor. I know we’ve gone over this a million times but the answer is always the same. I love the single
mindedness of this job. There is no other purpose but my client. There is no seeking of justice or decision making
that goes beyond what is best for Mr. X or Ms. Y. There is no close call on whether this will be good for society or
even for my client’s family. There is no one in the world but him. I find it to be so freeing and simple. Not that the
work is simple, but the concept of it. | do not have to play god. I get to just be me.

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